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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


 VIDSTREAM LLC,                                §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §                    Case No. 3:16-cv-00764-N
                                               §
 TWITTER, INC.,                                §
                                               §
        Defendant.                             §
                            SECOND AMENDED COMPLAINT

        Plaintiff, VidStream, LLC (“VidStream”), for its Second Amended Complaint for Patent

 Infringement against Twitter, Inc. (“Twitter” or “Defendant”), alleges the following:

                                   NATURE OF THE SUIT

        1.      This is an action for patent infringement arising under the patent laws of the

 United States, Title 35 of the United States Code, to prevent and enjoin Defendant from

 infringing and profiting from, in an unlawful and unauthorized manner, U.S. Patent No.

 8,464,304 (the “’304 patent”) and U.S. Patent No. 8,601,506 (the “’506 patent”), pursuant to

 35 U.S.C. § 271. True and correct copies of the ’304 and ’506 patents are attached hereto as

 Exhibits A and B, respectively. VidStream also seeks to recover damages, attorneys’ fees,

 and costs.

                                           PARTIES

        2.      VidStream is a Texas limited liability company having its principal place of

 business at 3400 Carlisle Street, Suite 550, Dallas, Texas 75204. VidStream is the successor-

 in-interest to Youtoo Technologies, LLC (“Youtoo”), the original plaintiff in this action.

        3.      In mid-2008, Youtoo inventors recognized that the intersection of broadcast
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 television and Social Networking was the next great horizon with respect to technology and

 communication. In order to meet the growing public and corporate demand for a user- and

 network-friendly, reliable interactive television experience, Youtoo invested millions of

 dollars into the creation, design, and testing of its pioneering technology.

        4.      The inventors purchased two cable television networks to access the back-end

 infrastructure to develop the technology and to integrate it into a social network. On

 September 28, 2011, Youtoo announced the commercial launch of Youtoo TV and

 Youtoo.com, the world’s first social network that was integrated into a TV network.

        5.      Youtoo’s inventions enable Internet users to record video in social networks or

 on social network mobile applications and to distribute the recorded video in the same social

 network, to another social network, embed it in a webpage or to make the video available to a

 television network for broadcast on television. Youtoo realized its mission through major

 licensing arrangements with mainstream networks like NBC, CBS, FOX, Univision,

 Telemundo, and TV Azteca, to smaller cable networks including Oxygen and Asia TV, to

 international networks like Rotana and CNBC Arabia. Youtoo even attracted “Survivor” and

 “The Voice” executive producer Mark Burnett as an owner. Network executives declared that

 marrying Youtoo Social Networking and the television community was “more than an

 opportunity to engage fans on multiple screens,” rather, “[it gave] viewers a chance to take

 part in a national conversation around a show.”

        6.      Defendant Twitter is a Delaware corporation with its principal place of business

 at 1355 Market Street, Suite 900, San Francisco, California 94103. Twitter may be served on its

 registered agent CT Corporation System at 818 West Seventh Street, Suite 930, Los Angeles,

 CA 90017.




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         7.      Twitter acquired Vine in January 2013 and launched Vine as a standalone

 mobile device application used for recording and sharing video clips. Vine is a short-form

 video sharing social media service. Twitter, through its development and operation of Vine, is

 doing business and infringing VidStream’s (formerly Youtoo’s) ’304 and ’506 patents in

 Texas and elsewhere in the United States. Twitter acquired Periscope in January 2015 and

 launched Periscope as a standalone mobile device application used, among other things, for

 live video broadcasting. Periscope is a live video streaming and sharing service. Twitter,

 through its development and operation of Periscope, and through operation of Periscope and

 Twitter (with Periscope integration), is doing business and infringing VidStream’s ’304 and

 ’506 patents in Texas and elsewhere in the United States.

                                JURISDICTION AND VENUE

         8.      VidStream’s claims for patent infringement against Twitter arise under the patent

 laws of the United States, including 35 U.S.C. §§ 271 and 281. Consequently, this Court has

 original subject matter jurisdiction over this suit under 28 U.S.C. §§ 1331 and 1338.

         9.      Twitter is an internet-based service that is used widely throughout the United

 States. Twitter is subject to both the specific and general personal jurisdiction of this Court

 because, among other things, it has established continuous and systematic contacts with Texas

 and in this judicial district, including by conducting business in the Northern District of Texas

 and the State of Texas; it has committed acts of patent infringement within Texas and this

 judicial district giving rise to this action; and it has minimum contacts with the forum such that

 the exercise of jurisdiction over it would not offend traditional notions of fair play and

 substantial justice.

         10.     Twitter has established distribution networks placing media content creation

 products that are covered by claims of the ’304 and ’506 patents into the stream of commerce

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 such that those products flow into Texas and this district.

           11.     Twitter has also committed acts of patent infringement and/or contributed to

 others’ acts of patent infringement within this district.

           12.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and/or 1400(b).

                 PRIOR ART AND GENERAL TECHNOLOGY BACKGROUND

           13.     Prior to the inventions of the ’304 and ’506 patents, individuals could record

 video content, in the form of a file, on their local device and then upload the video content

 file(s) to distribution sites like YouTube over the Internet or other data networks. Such

 content is referred to as “user-generated” content. Individuals could capture user-generated

 content files on a wide variety of user devices, such as mobile phones having integrated

 digital cameras or digital cameras connected to personal computers running software capable

 of capturing and encoding video data to create the video files. Individuals could then upload

 such video files to video sharing sites such as YouTube, where the video in the files could be

 viewed by other users.

           14.     A video file typically includes at least a file container (e.g., .mpg), video

 content (the video data itself), and identifying data specifying the encoding format of the

 video content in the file container (e.g., MPEG-4, H.264).               Video data encoding (and

 decoding) are performed by so-called CODECs (COder/DECoder). Different types of user

 devices     may     support   different   CODECs        that   support   different   encoding   and

 compression/decompression formats and file container types. Encoding parameters (e.g.,

 video resolution, video frame rate) for video content may be selected based on a range of

 conditions, e.g., the user’s connection speed or the nature of the content being recorded.

           15.     Video files uploaded to video sharing sites may arrive in myriad formats that

 generally need to be converted into one or more other formats, a process known as

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 transcoding, for the video content to be made available for distribution. One reason for this is

 that different types of user devices may support video playback of content having only certain

 video data encoding or file container types. Another reason is that different users may have

 different Internet connection speeds, so users having a low connection speed may require

 access to a format that is encoded at a reduced resolution or framerate as compared to users

 having a higher connection speed that supports a higher frame rate.

              IMPROVEMENTS AND PROBLEMS SOLVED BY THE PATENTED
                              INVENTIONS

        16.     The inventors of the ’304 and ’506 patents (“Youtoo Inventors”) developed a

 system that facilitates rapidly creating and distributing user generated video content over a

 variety of networks that may include, for example, social media platforms accessible via the

 Internet or smart phone applications and traditional or over the top television networks.

        17.     In developing this technology, the Youtoo Inventors recognized and overcame

 significant problems with conventional methods and systems for facilitating the creation and

 distribution of user generated video content.

        18.     For example, resource burdens were imposed by both the file receipt and file

 preparation for subsequent distribution. Specifically, the wide variety of user device types

 and related software for capturing, encoding, and creating containers for video content meant

 that files were uploaded in a multitude of different formats, and once uploaded, there may be

 file type restrictions associated with desired destination(s) for subsequent distribution. For

 example, user-generated video files intended for distribution on a social media network may

 need to satisfy certain parameters so the files have a quality level appropriate for transcoding

 into the one or more video file formats required for distribution over one or more web,

 mobile, social media, or television platforms. Significant server resources were required to



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 identify and to transcode uploaded video files from this large number of potential formats to a

 common or desired format before the received video could be evaluated for potential

 distribution or further transcoded into one or more video file formats appropriate for the

 intended destination(s).

        19.      As another example, video files may also need to be reviewed or filtered to

 identify and to exclude potentially-inappropriate content (e.g., body parts, hate speech or other

 language, copyrighted material).     Uploaded user-generated video files may thus require

 transcoding to a video or audio format that will permit content-quality level assessment,

 including some level of filtering, before it is determined whether the user-generated video file

 is even appropriate for distribution (whereupon further transcoding may be required for

 distribution). This initial identification and transcoding from a multitude of potential file

 formats to a format that will permit evaluation and filtering—even for video files that

 ultimately fail to meet the necessary criteria for distribution—imposes an additional,

 significant computing cost on the server system that receives the uploaded user-generated

 video files (as well as human resource costs).

        20.     These problems are compounded where the user-generated video content is

 intended for distribution in a system with highly-restrictive file format limits, as might exist,

 for example, in over the top, cable, or broadcast television environments. For example, an

 advertising or promotional slot in a linear television program may be restricted to exactly 15

 or exactly 30 seconds, must contain a specific number of frames, and must be encoded at a

 specific frame rate and resolution in accordance with a specific CODEC specification. Any

 user-generated video that deviates from these parameters is generally not usable in such an

 advertising slot, so user-generated content received in a format that is incapable of being




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 transcoded into a broadcast-television-compatible format or that, if so transcoded, does not

 have the precise number of required frames, is not usable. Server system resources expended

 in transcoding or attempting to transcode such user-generated content are wasted.

 Alternatively, server system resources are required to edit/transcode such files to the proper,

 acceptable form for the highly-restrictive destination system.

        21.     The Youtoo Inventors recognized and solved these and other problems by

 inventing a system architecture that may include any number of devices (e.g., user devices,

 computers, networks, etc.) and that provides for more efficient and rapid transcoding and

 distribution of user-generated video content received by the system than was previously

 possible.




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        22.     Aspects of the ’304 and ’506 patents’ claimed inventions are illustrated in the

 ’304 patent, Figure 2, shown above. Figure 2 depicts a Content Creation and Distribution

 System 202 (“CCDS”) that may comprise a number of servers (206, 208, 210, 214, 216, 218,

 and 236) and that is connected to one or more communications networks 204. Exhibit A, ’304

 patent at 14:1-5. The CCDS may communicate with a television distribution system 220 that

 can include a network operations center for a television network and/or uplink facility from

 which a television network feed is distributed to carriers 228 that provide television services.

 Id. at 4:18-22. The CCDS may receive user-generated video content from a user having a

 mobile device 230 (e.g., a smart phone, tablet, etc.) capable of capturing SD or HD video or a

 computing device 232 having a video camera 234 (e.g., built-in or aftermarket peripheral

 camera attached via wired or wireless connection). Id. at 14:30-36. Servers associated with

 the CCDS can transcode the received video into one or more alternative formats. Id. at 15:23-

 28. Other servers associated with the CCDS can organize video content for review and

 perform automatic review of video content for inappropriate material. Id. at 15:57-16:9.

 User-generated video content received by the CCDS can also be transcoded into one or more

 formats for use by one or more destination media outlets, including, e.g., television

 distribution systems, Internet broadcasts, Internet Video blogs, and other types of Internet

 distribution. Id. at 10:45-55.

        23.     A key inventive concept in all independent claims of the ’304 and ’506 patents

 is that a server system provides instructions to the user device that cause the video content to

 be captured in accordance with predetermined constraints. For example, in one embodiment,

 the server system provides a thin-client interface to the user computing device whereby

 instructions are executed partially on the server system and partially on the user computing




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 device. Id. at 10:25-37; 12:12-18, 49-62. In another embodiment, the server provides a fat

 client application download to the user computing device (e.g., mobile application software),

 which can be executed on the user computing device to capture video content and record such

 content to storage locations of the CCDS. Id. at 12:19-25, 45-49.

        24.     The instructions provided by the server system to the user computing device

 via a thin client interface or an installed fat client application cause the user computing device

 to capture video content according to predetermined constraints. By constraining particular

 formatting requirements for the video files captured via the user computing device, the video

 can be received by the CCDS and then rapidly transcoded without the need to interpret an

 unconstrained range of received data formats or to modify the transcoder accordingly. Id. at

 13:55-58. This dramatically increases the speed and efficiency with which the computer

 system can transcode and distribute user-generated video content.

        25.     For example, in certain embodiments, when the content creation subsystem of

 the invention is implemented “as a thin client application or a specialized application installed

 on a user device, the application can enforce predetermined constraints on the captured

 video.” Id. at 10:56-59. “Such constraints can help ensure that the video is in condition to be

 rapidly transcoded for insertion into a linear programming time slot” by, for example,

 ensuring that the application “encode the video and accompanying audio data at a sufficient

 bit rate and resolution, among other things, to ensure that the video file can be transcoded to

 produce video of sufficient quality to be televised and/or to be distributed on the Internet (i.e.,

 in accordance with minimum quality requirements of the television producer or other

 distributor.)” Id. at 10:59-11:1. In such embodiments, this ensures server system resources

 are not wasted in attempting to transcode or transcoding some received user-generated video




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 content that will not, once transcoded, meet the necessary quality parameters for distribution.

 “By ensuring that the crowd-sourced video or other user-generated content complies with

 predetermined parameters through the application of the content creation subsystem, it is

 possible to transcode the video or other content and perform a review and/or selection so that

 the video or other content can be inserted within the same television show in which the

 request to submit the video or other content is made.” Id. at 11:1-8. Such rapid insertion of

 user-generated video content into a linear programming slot was not feasible prior to the

 invention using conventional technology at that time.

        26.     In addition, in certain embodiments, encoding user-generated video with pre-

 determined constraints also ensures the video file is ready for transcoding by the CCDS using

 a predetermined transcoder and predetermined transcoding parameters (or a limited set of

 predetermined transcoders and/or transcoding parameters), which increases transcoding

 efficiency. “In other words, the incoming video file can be transcoded using a predetermined

 transcoding process without having to interpret the data, develop a transcoding process, edit

 the video, and/or perform manual processing…Such techniques allow received video to be

 quickly transcoded and can facilitate incorporating captured video into linear programming

 within minutes of capture.” Id. at 11:13-19.

        27.     In addition to server constraints on user-generated video quality, the ’304 and

 ’506 patents teach, in certain embodiments, the use of predetermined restrictions on the length

 of a user-generated video that may be captured for submission. “By accessing the thin client

 through that web page [containing a request for video submissions] and/or by delivering

 parameters to a locally installed application on the user device, a video length restriction can

 be enforced (i.e., the user can be prevented from capturing or submitting videos that do not




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 comply with the length restrictions)…[b]y enforcing length restrictions, the need to edit the

 video can be avoided, which can also expedite the process of inserting video into a linear

 programming sequence.” Id. at 11:26-30, 42-45.

        28.     Thus, in various embodiments, this key inventive concept—that instructions

 provided by the server system to the client computing device impose predetermined

 constraints on the video capture process—improves the computer system’s computational

 functionality by increasing the speed, efficiency, and viability with which video content can

 be transcoded at the server system as well as reducing or eliminating wasteful transcoding or

 attempted transcoding of user-generated video files that do not satisfy necessary parameters

 for the transcoded video to have a sufficient quality level for distribution on an intended

 network or networks. In certain embodiments, the increase in speed and efficiency with

 which video content can be transcoded at the server system also enables more rapid and

 efficient distribution as well as lower-cost distribution of content that is viewable across

 multiple networks (e.g., mobile, social, web, and television) as well as across multiple devices

 (e.g., iOS devices, android devices, PC computers, Macintosh computers).

        29.     In addition, in certain embodiments, this key inventive concept—by enabling

 the server system to more efficiently transcode received video content into broadcast quality

 video files and/or into video files appropriate for Internet distribution without the need for

 manual editing—also solved an existing problem in the prior art where such video files were

 intended for incorporation in other programming. “This feature eliminates the need of a

 professional production team to transcode disparate formats of user-generated video files

 before the team can compile and review the files for inclusion in live or pre-recorded linear

 television or other programming. This aspect not only make [sic] production less expensive




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 for television or movie production teams, it makes…the process simpler, and therefore more

 likely that a production team will want to include crowd-sourced content in their

 programming (e.g., television or movie programming).” Id. at 18:29-38.

         30.       This server-provided constraint inventive concept is incorporated in each and

 every independent claim in the ’304 patent. For example, independent claim 1 of the ‘304

 patent recites:

                   1. A method performed by data processing apparatus, the method comprising:
                      receiving video data from a client computing device at a server system,
                          wherein the video data is captured using a camera connected to the
                          client computing device in accordance with instructions executed on
                          the client computing device, wherein the instructions are provided to
                          the client computing device by the server system and cause the video
                          data to be captured in accordance with predetermined constraints and
                          the predetermined constraints include a frame rate defined by the
                          instructions;
                      automatically transcoding the video data, using a server included in the
                          server system, into at least one different format based on at least one of
                          user credentials associated with a user of the client computing device or
                          attributes associated with the video data, wherein at least one format of
                          the transcoded video data defines a video file in a format appropriate
                          for inclusion in a linear television programming broadcast; and
                      uploading the transcoded video data to a distribution server for distribution.

 Id. at 27:57-28:10 (emphasis added).

         31.       Relatedly, independent claims 17 and 22 in the ’304 patent each recite, in

 relevant part, “wherein the user interface is provided in accordance with instructions received

 from a server system and the instructions cause the content to be captured in accordance with

 predetermined constraints that include a frame rate defined by the instructions….” Id. at

 29:27-31; 30:2-6. Similarly, independent claim 26 recites, in relevant part, “one or more

 servers operable to interact with the user device and to: provide instructions for use by the

 user device for capturing video data in accordance with predetermined constraints, wherein

 the predetermined constraints include a frame rate defined by the instructions….” Id. at



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 30:41-46.

        32.     This key inventive concept is also incorporated in each and every independent

 claim in the ’506 patent. For example, independent claim 1 of the ’506 patent recites:

                1. A method performed by data processing apparatus, the method comprising:
                   receiving video data from a client computing device at a server system,
                       wherein the video data is captured using a camera communicably
                       coupled to the client computing device in accordance with instructions
                       executed on the client computing device, wherein the instructions are
                       provided to the client computing device by the server system and
                       cause the video data to be captured in accordance with predetermined
                       constraints and the predetermined constraints include a video length
                       defined by the instructions, with the video length predefined at the
                       server system in accordance with a time slot in a linear television
                       programming broadcast;
                   transcoding the video data, using a server included in the server system,
                       into at least one different format, wherein at least one format of the
                       transcoded video data defines a video file in a format appropriate for
                       inclusion in the linear television programming broadcast; and
                   transferring the transcoded video data to a distribution server for
                       distribution.

 Ex. B, ’506 patent at 28:2-7 (emphasis added).

        33.     Relatedly, independent claim 16 in the ’506 patent recites, in relevant part,

 “wherein the user interface is provided in accordance with instructions received from a server

 system and the instructions cause the content to be captured in accordance with predetermined

 constraints that include a video length defined by the instructions, with the video length

 centrally predefined at the server system for a plurality of users….”         Id. at 29:25-31.

 Similarly, independent claim 23 recites, in relevant part, “wherein the user interface is

 provided in accordance with instructions received from a server system and the instructions

 cause the content to be captured in accordance with predetermined constraints that include a

 video length defined by the instructions, wherein the video length is centrally defined at the

 server system for a plurality of users….” Id. at 30:8-14. Finally, independent claim 26

 recites, in relevant part, “one or more servers operable to interact with the plurality of user

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 devices and to: provide instructions for use by the user devices for capturing video data in

 accordance with predetermined constraints, wherein the predetermined constraints include a

 video length defined by the instructions, wherein the video length is centrally defined at the

 one or more servers for the plurality of user devices….” Id. at 30:41-48.

        34.     This inventive concept, when considered individually as well as when

 considered as an ordered combination with the other elements of each independent claim in

 the ’304 and ’506 patents, involves more than performance of well-understood, routine, or

 conventional activities previously known to the industry. Indeed, this inventive concept rises

 much farther—to the level of patentability—as further detailed below.

          TWITTER’S IPR CHALLENGE TO THE ’304 PATENT FAILED, AND THE
            PTAB FOUND ALL CHALLENGED CLAIMS PATENTABLE

        35.     On March 24, 2017, Twitter filed an ultimately unsuccessful petition before the

 United States Patent Trial and Appeal Board (“PTAB”) seeking inter partes review (“IPR”) of

 the ’304 patent (the “’304 IPR”). Twitter’s ’304 IPR, Case IPR2017-01131, challenged the

 patentability of claims 1, 4, 5, 8, 9, 11-17, 19-26, and 28-30 of the ’304 patent.

        36.     Twitter asserted in the ’304 IPR that four of the challenged claims—claims 1,

 4, 5, and 9—were unpatentable as anticipated by a publication by Janne Lahti et al., “A

 Mobile Phone-based Context-Aware Video Management Application,” Multimedia on Mobile

 Devices II, Proc. Of SPIE-IS&T Electronic Imaging, SPIE Vol. 6074, 607400, 2006

 (“Lahti”). Lahti describes a video management system including a video server and a mobile

 camera-phone application called MobiCon.          MobiCon allows a user to capture videos,

 annotate them, specify digital rights management settings, upload videos over a cellular

 network, and share the videos with others. In addition, Twitter’s ’304 IPR alleged that all

 challenged claims were unpatentable as obvious in view of various combinations of Lahti



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 with five other alleged prior art publications.

         37.       On January 23, 2019, the PTAB issued its Final Written Decision on the ’304

 IPR, finding Twitter had failed to demonstrate by a preponderance of the evidence that any of

 the challenged claims were unpatentable. A true and correct copy of the PTAB’s Final

 Written Decision on the ’304 IPR is attached as Exhibit C.

         38.       In particular, the PTAB found that the combination of references asserted by

 Twitter failed to disclose a particular concept recited in each independent claim of the ’304

 patent: that the server system provides instructions to the client computing device that causes

 video data to be captured in accordance with predetermined constraints that include a frame

 rate.   ’304 Final Written Decision at 13-15, 25, 27-29.           Specifically, the PTAB found

 Twitter’s proffered references failed to disclose the following limitations from the

 independent claims:

               •   Claim 1: “wherein the instructions are provided to the client computing device

                   by the server system and cause the video data to be captured in accordance

                   with predetermined constraints and the predetermined constraints include a

                   frame rate defined by the instructions.” Id. at 13, 16, and 25.

               •   Claim 17: “instructions cause the content to be captured in accordance with

                   predetermined constraints that include a frame rate.” Id. at 27-28.

               •   Claim 22: “instructions cause the content to be captured in accordance with

                   predetermined constraints that include a frame rate.” Id. at 28-29.

               •   Claim 26: one or more servers. . . to: provide instructions for use by the user

                   device for capturing video data in accordance with predetermined constraints,

                   wherein the predetermined constraints include a frame rate defined by the



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                instructions.” Id. at 13, 16, and 25.

        39.     The PTAB’s ’304 IPR findings demonstrate Twitter failed to show this key

 inventive concept—provision of instructions by the server system to impose predetermined

 constraints on the video capture process—was unpatentable. This key inventive concept, as

 recited in the above-quoted claim elements, is not well-understood, routine, or conventional to

 a skilled artisan in the relevant field. Indeed, far from being “conventional,” the PTAB found

 this inventive concept is neither disclosed, nor obvious in view of, the very references selected

 by Twitter for assertion in the ’304 IPR.

          TWITTER’S IPR CHALLENGE TO THE ’506 PATENT FAILED, AND THE
            PTAB FOUND ALL CHALLENGED CLAIMS PATENTABLE

        40.     On March 24, 2017, Twitter also filed an ultimately unsuccessful petition

 before the PTAB seeking IPR of the ’506 patent (the “’506 IPR”). Twitter’s ’506 IPR, Case

 IPR2017-01133, challenged the patentability of claims 1, 4-8, 11, 13-15, 23-26, 29, and 30 of

 the ’506 patent.

        41.     Twitter asserted in the ’506 IPR that all challenged claims were unpatentable

 as obvious in view of Lahti combined with two other references, and separately obvious in

 view of Lahti combined with a different set of three references.

        42.     On January 23, 2019, the PTAB issued its Final Written Decision on the ’506

 IPR, finding Twitter had failed to demonstrate by a preponderance of the evidence that any of

 the challenged claims were unpatentable. A true and correct copy of the PTAB’s Final

 Written Decision on the ’506 IPR is attached as Exhibit D.

        43.     In particular, the PTAB found that neither combination of references asserted

 by Twitter disclosed a particular concept recited in each challenged independent claim of the

 ’506 patent: provision of instructions by the server system that cause the video date to be



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 captured in accordance with predetermined constraints. ’506 Final Written Decision at 13-14.

 Specifically, the PTAB Twitter’s proffered references failed to disclose the following

 limitations from the challenged independent claims:

              •   Claim 1: “wherein the instructions are provided to the client computing device

                  by the server system and cause the video data to be captured in accordance

                  with predetermined constraints.” Id. at 13-14 and 26-27.

              •   Claim 23:     “wherein the user interface is provided in accordance with

                  instructions received from a server system and the instructions cause the

                  content to be captured in accordance with predetermined constraints.” Id.

              •   Claim 26: “one or more servers . . . to: provide instructions for use by the user

                  devices for capturing video data in accordance with predetermined

                  constraints.” Id.

        44.       The PTAB’s ’506 IPR findings demonstrate Twitter failed to show this key

 inventive concept—provision of instructions by the server system to impose predetermined

 constraints on the video capture process—was unpatentable. This key inventive concept, as

 recited in the above-quoted claim elements, is not well-understood, routine, or conventional to

 a skilled artisan in the relevant field. Indeed, as with Twitter’s challenge to the ’304 patent,

 this inventive concept is not even disclosed in the very references selected by Twitter for

 assertion in the ’506 IPR.


   ALL METHODS OF CAPTURING, UPLOADING, AND DISTRIBUTING VIDEO
      CONTENT ARE NOT PREEMPTED BY THE ’304 AND ’506 PATENTS

        45.       The ’304 and ’506 patent claims do not preempt all methods and systems for

 capturing, uploading, and distributing video.        Prior-art architectures for capturing user-

 generated video content, uploading, and distributing such content are not covered by the ’304

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 and ’506 patents where, for example, they lack the claimed key inventive concepts.

        46.     For example, the Lahti prior art system includes a video management system

 having a video server and a mobile camera-phone application called MobiCon. ’304 Final

 Written Decision at 10. MobiCon allows a user to capture videos, annotate them, specify

 digital rights management settings, upload videos over a cellular network, and share the

 videos with others. Id. MobiCon operates on the Candela system architecture, which was

 developed as a solution for general video management and includes tools for video creation,

 analysis, annotation, storage, search, and delivery phases. Id. The PTAB found that the Lahti

 system did not disclose a server providing instructions to the client device that would provide

 predetermined constraints on the capture of video content. ’304 Final Written Decision at 13,

 16, 25, 27-29; ’506 Final Written Decision at 13-14 and 26-27. Thus, Lahti is but one example

 of a video creation, uploading, and sharing system that is not covered by the claims of the

 ’304 or ’506 patents.

                         TWITTER’S KNOWLEDGE OF THE PATENTS

        47.     Twitter has been aware of VidStream’s ’304 and ’506 patents since at least July

 5, 2013, when its predecessor-in-interest, Youtoo, advised the then CEO of Twitter, Dick

 Costolo, of its concern that Twitter was practicing claims of Youtoo’s patents, yet preferred to

 discuss a possible business relationship rather than engage in litigation. Youtoo subsequently

 entered into discussions with chief executives at Twitter, including Fred Graver, Adam

 Bain, Anthony Noto, Mike Rusignola and others, regarding a potential partnership under

 the company’s branded “Twitter Official Partner Program” (the “Partner Program”).

        48.     The parties engaged in serious discussions beginning with senior Twitter

 executive Fred Graver regarding the Partner Program from August 8, 2013 through August 22,




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 2015. During an initial in-person meeting on August 8, 2013, Mr. Graver advised Youtoo

 executives that the way to monetize the patents, in lieu of litigation, would be to become a

 “Twitter Official Partner” whereby Twitter would refer paying clients to Youtoo, similar to

 Twitter data resellers, including Mass Relevance, to license the Youtoo software. On August

 17, 2013, Mr. Graver introduced Mike Rusignola to Youtoo executives to begin the process

 of becoming a Twitter Official Partner. During the partnership talks, which were subject to a

 non-disclosure agreement, Youtoo was required to show Twitter how to practice the

 inventions covered by the ’304 and ’506 patents.

        49.     On October 16, 2013, Youtoo provided Twitter access to a digital “sandbox”

 whereby Twitter could evaluate Youtoo software. During the course of partnership talks,

 Mr. Rusignola declared that “nobody else has a producer-user interface that facilitates multi-

 user content like Youtoo.” He then asked Youtoo to begin developing software for the Twitter

 “video card” and Amplify products. Youtoo complied but was never compensated for the

 development work. On November 24, 2013, Mr. Graver stated, “This [Youtoo] is the most

 powerful technology we’ve seen to date.” Then, on January 8, 2014, Mr. Graver further stated

 that Twitter liked Youtoo’s technology because it was “camera ready” and no one else’s was.

 Thereafter, Youtoo was passed off to at least four different senior Twitter executives during

 its process to become a Twitter Official Partner, dragging out the process for nearly two years.

        50.     In the meantime, Twitter implemented – copied – the very technology in

 Vine which Youtoo demonstrated to Twitter in 2013, thus allowing Vine videos to be displayed

 on television and elsewhere.

        51.     After further efforts to enter into licensing or partnership arrangements with

 Twitter failed, Youtoo told Twitter CFO, Anthony Noto that if Twitter continued its




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 infringing activities, a lawsuit would be inevitable. Mr. Noto then conceded that Twitter

 “would have a problem” if Youtoo were to file suit.

                                  PATENT INFRINGEMENT

                            FIRST CLAIM FOR INFRINGEMENT

                            (Infringement of U.S. Patent No. 8,464,304)

        52.     VidStream incorporates by reference Paragraphs 1 - 51 of this Complaint as if

 set forth below.

        53.     The ’304 patent, entitled “Content Creation and Distribution System,” was

 duly and legally issued on June 11, 2013, naming Mark A. Harwell, Christopher W. Wyatt,

 and Ryland M. Reed as inventors.

        54.     VidStream owns all right, title and interest in and has standing to sue for

 infringement of the ’304 patent, including the right to sue and recover for all past, current,

 and future infringement.

        55.     The ’304 patent is valid and enforceable.

        56.     The ’304 patent is directed to patentable subject matter.

        57.     Twitter has infringed and is infringing the ’304 patent through its operation of

 its video creation and distribution platform Vine and all similar, derived, or related platforms

 for video creation and distribution (collectively, “Vine”). Vine consists of an application,

 versions of which run on Android, Windows, or iOS client devices, and a server system, that

 together allow users to record video content in six-second segments for transmission to the

 server system for distribution. The Vine server system transcodes the recordings as necessary

 for distribution. The Vine recordings may ultimately be incorporated into or otherwise

 distributed via, e.g., social media platforms, webpages, and television broadcasts. Twitter has

 been infringing and continues to infringe the ’304 patent, literally and under the doctrine of


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 equivalents, including, but not limited to, claims 1, 4, 5, 8, 9, 11-16, 22, 24-26, and 28-30

 (hereinafter the “’304 Vine Asserted Claims”), under 35 U.S.C. § 271(a) through its

 operation, making, use, sale, and offering for sale of its video creation and distribution system

 Vine, and under 25 U.S.C. § 271(b) through its inducement of others to operate and use Vine.

        58.     Twitter also has infringed, and continues to directly infringe and/or indirectly

 infringe by inducement and/or contributory infringement, literally and/or under the doctrine of

 equivalents, the ’304 patent under 35 U.S.C. § 271(a) and (b), through its operation, making,

 use, sale, and offering for sale of its video sharing products Periscope and Twitter (with

 Periscope integration, released by Twitter on or about December 14, 2016), along with the

 server systems enabling and supporting Periscope and Twitter, and its inducement of others to

 use the Periscope and Twitter applications and services to infringe the ’304 patent while it

 knew or should have known that its actions would cause direct infringement.

        59.     The accused video sharing products and services that infringe one or more of

 claims of the ’304 patent, including without limitation claims 1, 4, 7-10, 15-17, 19-26, and 28,

 include, without limitation, at least the following: (i) the Periscope application for iOS and

 Android devices, and any other Periscope-related application or similar product in which

 functionality can be invoked to allow video capture and transmission to a server, sharing, or

 broadcasting from a user device, and the Periscope platform server infrastructure and APIs

 related to video capture from user devices, sharing, or broadcasting from a user device

 (collectively, the “Accused Periscope Instrumentalities”); and (ii) the Twitter application

 (with Periscope integration, released by Twitter on or about December 14, 2016) for iOS and

 Android devices, and any other Twitter-related application or similar product in which

 functionality can be invoked to allow video capture, sharing, or broadcasting from a user




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 device, and the Twitter platform server infrastructure and APIs related to video broadcasting

 from a user device (collectively, the “Accused Twitter Instrumentalities,” and together with

 the Accused Periscope Instrumentalities, the “Accused Instrumentalities”). Further discovery

 may reveal additional infringing applications, services, and/or functionality.

        60.     The Accused Instrumentalities infringe one or more claims of the ’304 patent,

 including, for example, claim 1 of the ’304 patent.

        61.     Claim 1 of the ’304 patent recites:

                1. A method performed by data processing apparatus, the method comprising:

                    receiving video data from a client computing device at a server system,
                        wherein the video data is captured using a camera connected to the
                        client computing device in accordance with instructions executed on
                        the client computing device, wherein the instructions are provided to
                        the client computing device by the server system and cause the video
                        data to be captured in accordance with predetermined constraints and
                        the predetermined constraints include a frame rate defined by the
                        instructions;

                    automatically transcoding the video data, using a server included in the
                        server system, into at least one different format based on at least one of
                        user credentials associated with a user of the client computing device or
                        attributes associated with the video data, wherein at least one format of
                        the transcoded video data defines a video file in a format appropriate
                        for inclusion in a linear television programming broadcast; and

                    uploading the transcoded video data to a distribution server for distribution.

        62.     To the extent the preamble of claim 1 is considered a limitation, the computing

 devices, including without limitation client computing devices on which the Periscope or

 Twitter applications are used and the Periscope and Twitter platform infrastructure servers,

 comprise a data processing apparatus that performs the claimed method.

        63.     The Accused Instrumentalities meet the first element of claim 1 of the ’304

 patent that recites “receiving video data from a client computing device at a server system,




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 wherein the video data is captured using a camera connected to the client computing device in

 accordance with instructions executed on the client computing device, wherein the

 instructions are provided to the client computing device by the server system and cause the

 video data to be captured in accordance with predetermined constraints and the predetermined

 constraints include a frame rate defined by the instructions.” A content capture server with

 respect to each of the Accused Instrumentalities receives video data from a client computing

 device, for example, an iOS or Android mobile device such as a smartphone running the

 Periscope application (Accused Periscope Instrumentalities) or Twitter application (Accused

 Twitter Instrumentalities). The Periscope and Twitter applications comprise instructions that

 are provided to the client computing device by the server system, and video data is captured

 using a camera connected to the client computing device, e.g., an internal smartphone camera

 or external camera connected to the smartphone, in accordance with instructions executed

 during operation of the Periscope or Twitter applications.         Video data is captured, for

 example, using the Periscope application on an iOS device by creating a Periscope account

 and logging in, tapping the “broadcast” icon in the bottom center of the screen, and tapping

 the “Go LIVE” button.          Similarly, video is captured, for example, using the Twitter

 application on an iOS device by tapping the camera icon from the composer, tapping the live

 mode     at     the   bottom      selector,   and    tapping     “Go   live.”      See,   e.g.,

 https://help.twitter.com/en/using-twitter/twitter-live.   On information and belief, the

 instructions comprising the Periscope and Twitter applications cause video data to be captured

 in accordance with predetermined constraints that include a frame rate defined by the

 instructions.

        64.      The Accused Instrumentalities meet the second element of claim 1 of the ’304




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 patent that recites “automatically transcoding the video data, using a server included in the

 server system, into at least one different format based on at least one of user credentials

 associated with a user of the client computing device or attributes associated with the video

 data, wherein at least one format of the transcoded video data defines a video file in a format

 appropriate for inclusion in a linear television programming broadcast.” On information and

 belief, one or more of the content capture servers, content storage servers, and/or content

 delivery network servers comprising part of the server system infrastructure for the Accused

 Instrumentalities automatically transcodes the video data into at least one different format,

 which is appropriate for inclusion in a linear television programming broadcast, based on at

 least one of the user credentials associated with a user of the client computing device or

 attributes associated with the video data.

        65.     The Accused Instrumentalities meet the third element of claim 1 of the ’304

 patent that recites “uploading the transcoded video data to a distribution server for

 distribution.” The transcoded video data is uploaded to one or more distribution servers, e.g.,

 one or more servers in the content delivery network(s) used to distribute video via the Twitter

 and/or Periscope platforms.

        66.     Twitter commenced and has continued its infringing activities, despite

 knowing that there was at least an objectively high likelihood that its actions constituted

 infringement of the ’304 patent. Twitter has also continued its infringing activities after the

 Patent Trial and Appeal Board’s Final Written Decision finding Twitter had failed to

 demonstrate that any of the challenged claims in the ’304 patent were unpatentable. This case

 is, therefore, beyond the norm and, hence, subject to discretionary enhancement of damages

 under 35 U.S.C. § 284 and attorneys’ fees and costs under 35 U.S.C. § 285.




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        67.     VidStream has been and continues to be damaged by Twitter’s actions.

                         SECOND CLAIM FOR INFRINGEMENT

                          (Infringement of U.S. Patent No. 8,601,506)

        68.     VidStream incorporates by reference Paragraphs 1 - 67 of this Complaint as if

 set forth below.

        69.     VidStream owns all right, title and interest in and has standing to sue for

 infringement of the ’506 patent, entitled “Content Creation and Distribution System,” which

 issued on December 3, 2013.

        70.     Twitter has infringed and is infringing the ’506 patent through its operation of

 its video creation and distribution platform Vine and all similar, derived, or related platforms

 for video creation and distribution (collectively, “Vine”). Vine consists of an application,

 versions of which run on Android, Windows, or iOS client devices, and a server system, that

 together allow users to record video content in six-second segments for transmission to the

 server system for distribution. The Vine server system transcodes the recordings as necessary

 for distribution. The Vine recordings may ultimately be incorporated into or otherwise

 distributed via, including but not limited to, social media platforms, webpages, and television

 broadcasts. Twitter has infringed the ’506 patent, literally and under the doctrine of

 equivalents, including, but not limited to, claims 1, 4-8, 11, 13-15, 23-26, and 29-30, under 35

 U.S.C. § 271(a) through its operation, making, use, sale, and offering for sale of its video

 creation and distribution system Vine, and under 25 U.S.C. § 271(b) through its inducement

 of others to operate and use Vine.

        71.     Twitter commenced and continued its infringing activities, despite knowing

 that there was at least an objectively high likelihood that its actions constituted infringement

 of the ’506 patent. This case is, therefore, beyond the norm and, hence, subject to


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 discretionary enhancement of damages under 35 U.S.C. § 284 and attorneys’ fees and costs

 under 35 U.S.C. § 285.

        72.     VidStream has been damaged by Twitter’s actions.

                                    PRAYER FOR RELIEF

        WHEREFORE, VidStream prays for the following relief:

                (a)     A judgment finding that Twitter has infringed the ’304 and ’506 patents

 under 35 U.S.C. § 271(a), (b) and (c);

                (b)     A judgment that the ’304 and ’506 patents are valid and enforceable;

                (c)     A permanent injunction enjoining Twitter, its agents, officers, assigns

 and others acting in concert with them, from infringing, inducing infringement of and/or

 contributing to infringement of the ’304 and ’506 patents;

                (d)     An award of damages adequate to compensate VidStream for the

 infringement of the’304 and ’506 patents that has occurred;

                (e)     An award of pre-judgment interest and post-judgment interest on the

 damages awarded;

                (f)     A judgment that VidStream is entitled to discretionary enhancement

 of its damages and other relief provided by 35 U.S.C. § 284;

                (g)     A determination that this is an exceptional case and an award of

 VidStream’s attorneys’ fees pursuant to 35 U.S.C. § 285 and any other applicable statute or

 law, and an award to VidStream of its costs; and,

                (h)     Such other further relief as the Court deems reasonable.

                                          JURY DEMAND

        Plaintiff demands a trial by jury on all issues triable to a jury.




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 DATED: April 22, 2021                  Respectfully Submitted,


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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this 22nd day of April, 2021, a true and

 correct copy of the foregoing document was sent via ECF to counsel for Twitter as follows:

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